-Case 1:18-cv-00021-JMS-WRP Documegtd8 the TRIAL Page 1of3 PagelD #: 303

ORIGINAL MAT
FILED IN THE

QUINTIN-JOHN D’AGIRBAUD, II UNITED STATES DISTRICT COURT
Pro Se #A0265488 DISTRICT OF HAWAI!
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IN THE UNITED STATES OF DISTRICT COURT
FOR THE DISTRICT OF HAWAII

QUINTIN-JOHN D’AGIRBAUD Ul, ) Civil . NO. 18-00021 JMS-RLP
Plaintiff, )
) PLAINTIFF’S RESPONSE TO
VS. ) DEFENDANTS MEMORANDUM IN

) OPPOSITION TO MOTION TO AMEND

SARAH ALANZO, et al., ) TRIAL AND CONFERENCE

Defendants. ) SCHEDULING

) FILED MARCI 4, 2019
)
) Trial: July 30, 2019

Judge: Honorable Judge Michael Seabright

 

PLAINTIFF’S RESPONSE TO DEFENDANTS MEMORANDUM IN OPPOSITION TO MOTION TO
AMEND TRIAL AND CONFERENCE SCHEDULING

FILED MARCH 4, 2019

PLAINTIFF, Quintin-John D’Agirbaud III] pro se, comes before Honorable U.S. Magistrate Judge
Richard L, Puglisi, hereby submits his response to Defendants Memorandum in Opposition to Motion to

Amend Trial and Conference Scheduling.

In this case plaintiff has a civil case against the Defendants and the State of Hawaii — Department of Public

Safety for First Amendment and Eighth Amendment Civil Rights Violations.

1. Plaintiff filed his Prisoner Civil Rights Complaint with a JURY DEMAND on January 12, 2018 (ECF
No, 1).

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Plaintiff is not versed in the law and his understanding by asking for a JURY trial at the inception of
complaint, was that he would receive a jury trial.
3. Plaintiff would like a jury trial, not only to insure an unbiased outcome, but to be sure that the public is

aware of the actions of PSD employees and what are tax-dollars are paying for.

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- Case 1:18-cv-00021-JMS-WRP Document 48 Filed 03/18/19 Page 2of3 PagelD #: 304

Plaintiff feels that the Defendants, as State employees should be held accountable for their actions.

The State has full advantage of Plaintiff's limited knowledge of the law and the State refuses to supply
Plaintiff with requested documentation that is crucial for the success of his case.

The State, due to their advantage, is not taking Plaintiff's case scriously and hopes that Plaintiff will
make a court error that will get his case dismissed.

The State wishes to brush the erroneous actions of PSD employees under the rug and carry on ‘business
as usual’.

Plaintiff is currently in the work furlough program and can and would like to be present on all hearing
motions concerning this case.

Plaintiff has asked this Honorable Court to appoint him Counsel due to the gravity and misinterpreted
legal jargon in this matter.

Plaintiff brings claims stemming from cruel and unusual treatment or punishment, arbitrary detention,
forced relocation and first amendment violations. Although there tend to be a lot of dangerous people in
prison; officials do not have to isolate every inmate who has the capacity for violence. However,
officials may not ignore an inmate’s history of violence behind bars. They may not place a known
“predator” in a position where he can continue to prey on other inmates. Fret v. Gov't of Virgin Islands,
839 F2.d 968, 978-79 (3" Cir. 1988)

Every prison should have a classification system that separates dangerous inmates from the rest and
allows for the special confinement of obvious “predators” Walsh v. Mellas, 837 F.2d 789,798 (7° Cir.
1988) [affirming judgment for prisoner injured by gang member placed in cell; “We firmly believe that
the failure of prison authorities to even review an inmates file to determine his/her proclivity for
violence and/or whether they are a gang-target in the face of gang related threats and violence manifest
utter disregard for the value of human life.”]

Vosburg v. Solem, 845 F.2d 736, 766 (8" Cir. 1988) [“The prison authorities did not screen violent
offenders from the less violent and non-violent when making cell assignments. Inmates were not
segregated based upon the nature of the crime for which they were convicted, and no policy existed to
segregate inmates who were likely targets of assault.”

Labeling an inmate as a snitch (“rat”) is an example of serious harm. [Benefield v. McDowall, 241
F.3d1267, 1271 (10" Cir. 2001) (“Labeling an inmate a snitch satisfies the Farmer standard and
constitutes deliberate indifference to the safety of that inmate.”’]

Plaintiff asks this Honorable Court that due to the aforementioned that it grant his Motion to Amend
Trial and Conference Scheduling to have his case presented to a jury and reschedule the current trial

date from July 30, 2019 to a later date.
.-Case 1:18-cv-00021-JMS-WRP Document 48 Filed 03/18/19 Page 3 of 3

PagelD #: 305

I declare under penalty of perjury that the above statements are true to the best of my knowledge.

Dated: Honolulu, Hawai'i, March!3, 2019

 

COPIES TO:

UNITED STATES MAGISTRATE RICHARD L. PUGLISI]
UNITED STATES DISTRICT COURT

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STATE OF HAWAII,
DEPARTMENT OF PUBLIC SAFETY

 
